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UN|TED STATES DlSTH|CT COURT
WESTERN D|STRiCT OF NEW YORK

 

 
 

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Pla|nti“, a.
civil Ap;§§ §.Nb‘j._ 111§'¢¥ é’"s\n\
vs. §“25’ `§'C 55
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nocHEsTEn Pol_lcE DEPARTMENT, \». ' Q_~/§ /
KEle KoEHN, DAvtD leTH "\&y;’tic )>f/s
`*“~‘3?`“.§- " :‘L‘;§§ »i@@`/
Defendants. w ij '”/

 

IT lS HEREBY S11PULATED AND AGHEED by and between the unders|gned_
herein, that whereas no party is an infant or an incompetent for whom a committee or a
conservatee has been appointed, and no person not a party has an |nterest tn the
subject matter of this proceeding, the same be and hereby is discontinued, with
prejudice and without costs to any party as against the other. This Stipu|ation may be
filed without further notice.

DATED: 3~ / 9~`3' .2017
Rochester, New York

BRIAN F. CURF¢AN
Corporation Counsel

'MQ¢@@ 152 BY- /J\j %
A'BENA APTlsTE-GOODEN, Plaimirr sPENcEF\L.Asi-i. Esq.

47 Midd|eburough Park Attomeys for Defendants
North Chi|t, NV 14514 30 Church Street, Room 400A
Ftochester, New York 14614
Te|ephone: (585) 428-6699

 

 

 

